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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California


                                          RE:     Peter Thomas BROWNSON
                                                  Docket Number: 2:99CR00017-01
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Mexico. Peter Brownson has been
supervised in the District of Colorado since his release from custody on March 6, 2006.
The supervising officer reports the releasee is current with all supervision obligations, and
recommends approval be granted.


Conviction and Sentencing Date: On April 30, 2002, Peter Brownson was sentenced for
the offense(s) of 21 USC 846 and 841(a)(1) - Conspiracy to Manufacture, Possess with
Intent to Distribute and Distribution of Marijuana, Class B Felony; 18 USC 853(a) -
Forfeiture.


Sentence imposed:       60 months custody of the Bureau of Prisons; 5-year term of
supervised release; $100 special assessment. Special conditions include: Search;
Financial disclosure; Drug/alcohol treatment and testing; No pager/cell phone; Copay for
treatment or testing; Register as drug offender; Report all vehicles owned or operated.


Dates and Mode of Travel: March 17, 2007 through March 23, 2007.


Purpose: Vacation with family.




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RE:    Peter Thomas BROWNSON
       Docket Number: 2:99CR00017-01
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Based on the foregoing, it is the undersigned's request that Your Honor grant the above-
noted travel. In addition, it is also requested Your Honor provide the probation officer with
the discretion to authorize any further travel by the offender to Mexico, without further Court
notification. If allowed to travel out of the country under the following noted conditions, the
offender will be instructed to report to the United States Department of Homeland Security
(or other appointed border security officials) upon his entry and exit from Mexico.

                                    Respectfully Submitted,
                                     /s/ Phil R. Hendley, Jr.
                                      Phil R. Hendley, Jr.
                                United States Probation Officer


DATED:        February 26, 2007
              Modesto, California
              PRH:lr


REVIEWED BY:             /s/ Deborah A. Spencer
                         DEBORAH A. SPENCER
                         Supervising United States Probation Officer



ORDER OF THE COURT:

Approved             U                              Disapproved



 February 26, 2007
Date                                                Honorable Lawrence K. Karlton
                                                    Senior United States District Judge




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